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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE


 UNITED STATES OF AMERICA                    )
                                             )
       v.                                    )      1:12-cr-00160-JAW
                                             )
 MALCOLM A. FRENCH, et al.                   )


                       ORDER DENYING DEFENDANT’S
                     MOTION TO DISMISS THE INDICTMENT

       The Court rejects Malcolm A. French’s motion to dismiss the superseding

 indictment in this case.       The evidence fails to demonstrate any governmental

 misconduct, much less misconduct that would justify dismissal, and the evidence fails

 to demonstrate any prosecutorial vindictiveness in initiating and pressing the

 charges of which Mr. French was convicted. To the extent Kendall Chase and Rodney

 Russell join in Mr. French’s motion to dismiss, the Court rejects their motions for the

 same reasons.

 I.    BACKGROUND

       A.     Procedural History of the Case in General

       On September 14, 2012, a federal grand jury indicted Malcolm A. French,

 Rodney Russell, Kendall Chase, and Haynes Timberland, Inc. for a series of federal

 crimes relating in general to their alleged involvement with a marijuana growing

 operation in Maine.1 Indictment (ECF No. 2). On November 13, 2013, a grand jury

 issued a superseding indictment. Superseding Indictment (ECF No. 187). Jury



 1     Other Defendants were also indicted but are not relevant to the pending motion.
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 selection was held on January 8, 2014, and a jury trial commenced immediately after

 selection. Min. Entry (ECF No. 281). The trial took place from January 8, 2014

 through January 24, 2014. Min. Entry (ECF No. 308).      On January 24, 2014, the

 jury returned verdicts finding Malcolm French, Rodney Russell, and Kendall Chase

 guilty of engaging in a conspiracy to manufacture marijuana, finding Malcolm French

 and Rodney Russell guilty of manufacturing marijuana, finding Malcolm French,

 Rodney Russell, and Haynes Timberland, Inc. guilty of managing or controlling a

 drug-involved premises, finding Malcolm French and Rodney Russell guilty of

 harboring illegal aliens, and finding Malcolm French, Rodney Russell, and Kendall

 Chase guilty of engaging in a conspiracy to distribute marijuana. Jury Verdict Form

 (ECF No. 311).

       B.      Procedural History of the Motion to Dismiss the Indictment

       On September 22, 2015, Malcolm French moved to dismiss the indictment,

 asserting that the Government had procured the indictment by presenting false

 testimony to the grand jury. Def. Malcolm French’s Mot. to Dismiss Indictment at 2-

 12 (ECF No. 583) (Def.’s Mot.). Mr. French also claimed that he was the victim of a

 vindictive prosecution in obtaining the superseding indictment and demanded that

 the indictment be dismissed for that reason as well. Id. at 12-16. On September 22,

 2015, the Government filed a brief response, opposing the motion to dismiss. Gov’t’s

 Obj. to the Def. French’s Mot. to Dismiss Indictment (ECF No. 584) (Gov’t’s Opp’n).

 On September 23, 2015, Rodney Russell, a co-defendant, joined Mr. French’s motion

 to dismiss.   Def. Rodney Russell’s Joinder with Def. Malcol[m] French’s Mot. to



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 Dismiss Indictment (ECF No. 585) (Russell Joinder). At some point that is not

 entered on the docket, Kendall Chase informed the Clerk’s Office that he was joining

 in Mr. French’s motion to dismiss. See Def. Kendall Chase’s Am. Mot. for New Trial

 at 1 (ECF No. 588) (Chase Am. Mot.). On October 2, 2015, Mr. French replied to the

 Government’s response. Def. Malcolm French’s Reply to the Gov’t’s Objs. to Def.’s Mot.

 to Dismiss Indictment (ECF No. 587) (Def.’s Reply).

        On October 8, 2015, Kendall Chase formally joined Mr. French’s motion to

 dismiss but withdrew any claim of prosecutorial misconduct, either vindictive

 prosecution or subornation of perjury. Chase Am. Mot. at 1-2.2 On October 18, 2015,

 Rodney Russell filed a similar retraction, stating that he withdrew all joinder with

 Malcolm French’s motion to dismiss the indictment “insofar as [that motion alleges]

 the Government or it[]s prosecutors suborned perjury or undertook vindictive

 prosecution.” Def. Rodney Russell’s Mot. for New Trial and Withdrawal of All Joinder

 with Claims the Gov’t Suborned Perjury (ECF No. 590) (Russell Withdrawal). After

 these Defendants withdrew a portion of their claims, Mr. French filed a response to

 Mr. Chase’s new position on October 21, 2015. Def. Malcolm French’s Resp. to Def.




 2       It is not entirely clear whether Kendall Chase intended to join Mr. French’s motion to dismiss
 the indictment. In Mr. Chase’s amended motion for new trial, he wrote that he “joins in the portions
 of Defendant French’s two most recent motions regarding the existence of exculpatory or impeaching
 evidence.” Chase Am. Mot. at 4 (emphasis added). This suggests Mr. Chase intended to join Mr.
 French’s motion to dismiss indictment (ECF No. 583) and his third motion for new trial (ECF No.
 554)—i.e., Mr. French’s two most recent motions as of the date that Mr. Chase filed his amended
 motion: October 8, 2015. Nonetheless, Mr. Chase did not elsewhere move to join Mr. French’s motion
 to dismiss the indictment, and he distanced himself from any claim of vindictive prosecution or
 suborned perjury. Id. at 2 (“Counsels reiterate our analysis and conclusion regarding the suborning
 perjury claim; likewise, we do not believe adequate proof exists to make a claim based upon vindictive
 prosecution . . . ”). With this ambiguity, the Court assumes that Mr. Chase intended to join the motion
 to dismiss the indictment but to exclude any claim of prosecutorial misconduct.

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 Kendall Chase’s Am. Mot. for New Trial and Joinder of Brady/Franks Mot. (ECF No.

 595) (French’s Chase Resp.).

 II.   THE POSITIONS OF THE PARTIES

       A.     Malcolm French’s Motion

              1.     The False Testimony Allegation

       In the motion, Mr. French claims that Special Agent Richards provided false

 testimony to “several grand juries.” Def.’s Mot. at 2. He lists eleven instances of

 Special Agent Richards’ allegedly false testimony. Id. at 2-4. He also alleges that

 Winston McTague provided false testimony to the grand jury on January 13, 2010

 and that he recanted his false testimony on December 10, 2013 and January 2, 2014.

 Id. at 5. Mr. French lists seven alleged incidents of false testimony. Id. at 5-6.

              2.     The Vindictive Prosecution Allegation

       Mr. French claims that the Government vindictively prosecuted him for

 exercising his constitutional right to a jury trial. Id. at 12-14. Specifically, Mr.

 French asserts that after he declined to plead guilty, the Government obtained a

 superseding indictment that provided for mandatory minimum sentences. Id. at 14.

 Mr. French maintains that the charges against him ran against national trends and

 directives concerning the prosecution of marijuana cases. Id. at 14-16.

       B.     The Government’s Opposition

       The Government first notes that Mr. French’s motion to dismiss is late and

 that Mr. French has not explained why his late filing is justified by good cause. Gov’t’s

 Opp’n at 1. The Government rejects Mr. French’s false testimony claims, noting that



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 the Government proved Mr. French guilty beyond a reasonable doubt before a federal

 jury.   Id. at 1-2.    Finally, the Government contends that Mr. French has not

 demonstrated the prosecution was vindictive under First Circuit standards. Id. at 2.

         C.    Malcolm French Reply

         In his reply, Mr. French first contends that the motion to dismiss is not late

 because he learned of the facts underpinning the motion in the spring of 2015. Def.’s

 Reply at 1-4. Mr. French also argues that the Government failed to substantively

 respond to his claims of false testimony. Id. at 4.

         D.    Kendall Chase Limited Joinder

         After initially joining Mr. French’s motion, on October 8, 2015, Mr. Chase filed

 an amended motion for new trial. Chase Am. Mot. at 1-10. In that motion, Mr.

 Chase’s counsel wrote that when he was informed by the United States Attorney that

 Mr. French’s motion had claimed that Assistant United States Attorney Joel Casey

 had suborned perjury, Attorney Leonard Sharon’s “jaw dropped.” Id. at 1. Mr. Chase

 withdrew his joinder in the French motion to the extent it alleged that “the

 government suborned perjury” and he further indicated that “we do not believe

 adequate proof exists to make a claim based upon vindictive prosecution.” Id. at 2.

 Mr. Chase stated, however, that he continued to join the French motion to the extent

 that the Government may have committed a Brady3 or Franks4 violation.5




 3     Brady v. Maryland, 373 U.S. 83 (1963).
 4     Franks v. Delaware, 438 U.S. 154 (1978).
 5     The Court addressed these issues in its Order Denying Defendant French’s Third Motion for
 New Trial; Defendant Chase’s Amended Motion for New Trial; and Defendant Russell’s Motion for
 New Trial dated November 17, 2015 (ECF No. 598).

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        E.    Rodney Russell Limited Joinder

        In his initial joinder, Mr. Russell simply adopted Mr. French’s motion and

 memorandum and did not relate those arguments to his specific case. Russell Joinder

 at 1. Later, Mr. Russell clarified that, in joining this motion to dismiss, he was not

 pursuing any claims that the federal prosecutor suborned perjury or that the

 prosecution was vindictive. Russell Withdrawal at 1.

        F.    Malcolm French’s Response to Kendall Chase’s Limited Joinder

        In his response, Mr. French objects to Mr. Chase’s withdrawal of his joinder in

 the French motion to dismiss, perceiving an “unusual partnering of the prosecutor

 and Defendant Chase.” French’s Chase Resp. at 1. Mr. French protests that he did

 not accuse the federal prosecutor of suborning perjury. Id. Instead, he explained that

 he charged the federal prosecutor with the knowing use of false testimony, not

 suborning perjury. Id. 1 n.1, 4. He then reiterated his positions regarding the merits

 of his pending motion to dismiss. Id. at 1-8.

 III.   THE LAW

        A.    The Motion to Dismiss the Indictment

        Unlike civil actions, an indictment is not generally subject to dispositive

 motion practice. United States v. Poulin, 645 F. Supp. 2d 17, 22 (D. Me. 2009). See

 also United States v. Li, 206 F.3d 56, 62 (1st Cir. 2000). “[D]ismissing an indictment

 is an extraordinary step,” Li, 206 F.3d at 62 (quoting United States v. Stokes, 124

 F.3d 39, 44 (1st Cir. 1997)) because, by returning an indictment, a grand jury is

 carrying out a constitutionally sanctioned function. See U.S. CONST. amend. V (“No



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 person shall be held to answer for a capital, or otherwise infamous crime, unless on

 a presentment or indictment of a Grand Jury . . . .”). In the First Circuit’s words,

 “[w]hen a federal court uses its supervisory power to dismiss an indictment it directly

 encroaches upon the fundamental role of the grand jury.” Whitehouse v. United States

 District Court, 53 F.3d 1349, 1360 (1st Cir. 1995) (citing Bank of Nova Scotia v. United

 States, 487 U.S. 250, 263 (1988)). This power is “appropriately reserved, therefore,

 for extremely limited circumstances.”6 Id.

           “In rare and extreme circumstances, a federal court has the authority to

 dismiss criminal charges as a sanction for government misconduct.” United States v.

 Guzman, 282 F.3d 56, 59 (1st Cir. 2002) (citing United States v. Russell, 411 U.S. 423,

 431-32 (1973); United States v. Mosley, 965 F.2d 906, 911 (10th Cir. 1992)). To

 succeed under this theory, Mr. French must demonstrate Government misconduct “so

 appalling and egregious as to violate due process by ‘shocking . . . the universal sense

 of justice.’” United States v. Luisi, 482 F.3d 43, 59 (1st Cir. 2007) (quoting Russell,

 411 U.S. at 432). In 2012, the First Circuit observed that “[w]hile the doctrine is often

 invoked by criminal defendants, it has never yet been successful in this circuit.”

 United States v. Djokich, 693 F.3d 37, 43-44 (1st Cir. 2012) (quoting Luisi, 482 F.3d

 at 59).

           B.    Knowing Use of Perjured Testimony




 6       There is a separate set of precepts for motions to dismiss an indictment where the defendant
 claims that the indictment is legally insufficient. Mr. French makes no such claim, and the Court has
 not addressed those standards.

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       There is, as Mr. French pointed out, a legal distinction between suborning

 perjury and the knowing use of false testimony.

       In 1950, the United States Supreme Court established the rule for knowing

 use of false testimony: “a prosecutor ‘may not knowingly use false evidence, including

 false testimony, to obtain a tainted conviction regardless of whether the prosecutor

 solicits false evidence or . . . allows false evidence to go uncorrected when it appears.”

 United States v. Flores-Rivera, 787 F.3d 1, 31 (1st Cir. 2015) (quoting United States

 v. Mangual-Garcia, 505 F.3d 1, 10 (1st Cir. 2007)) (quoting Napue v. Illinois, 360 U.S.

 264, 269 (1950)). Mr. French contends that the federal prosecutor in this case violated

 those obligations by “the knowing use of perjured testimony.” French Chase Resp. at

 4.

       By contrast, the federal crime of suborning perjury is statutorily defined:

 “Whoever procures another to commit any perjury is guilty of subornation of perjury,

 and shall be fined under this title or imprisoned not more than five years, or both.”

 18 U.S.C. § 1622. The First Circuit has set out the elements of suborning perjury:

 “[S]ection 1622 can be satisfied by procuring a person to lie materially in ‘any

 declaration, certificate, verification, or statement under penalty of perjury.’” United

 States v. LeMoure, 474 F.3d 37, 44 (1st Cir. 2007) (quoting 18 U.S.C. § 1621).

       In the context of the pending motion, the distinction between these two legal

 concepts is more semantic than practical. It is true that Mr. French is not accusing

 the federal prosecutor of actively procuring false testimony, but he is accusing the

 federal prosecutor of knowingly presenting it. The essence of Mr. French’s allegation



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 is that the federal prosecutor knowingly presented false testimony as true to a grand

 jury and petit jury or failed to correct testimony before these juries that the

 prosecutor knew was false. By either name, Mr. French’s accusation is a manifestly

 serious charge against the integrity and professional ethics of a federal prosecutor.

 See M.R. PROF. CONDUCT 3.3(3) (“A lawyer shall not knowingly offer evidence that is

 false. If a . . . witness called by the lawyer, has offered material evidence and the

 lawyer comes to know of its falsity, the lawyer shall take reasonable remedial

 measures, including, if necessary, disclosure to the tribunal”).

        C.     Vindictive Prosecution

        “A vindictive prosecution—one in which the prosecutor seeks to punish the

 defendant for exercising a protected statutory or constitutional right—violates a

 defendant’s Fifth Amendment right to due process.” United States v. Jenkins, 537

 F.3d 1, 3 (1st Cir. 2008) (citing United States v. Goodwin, 457 U.S. 368, 372 (1982)).

 A defendant may establish a vindictive prosecution claim either “(1) by producing

 evidence of actual vindictiveness or (2) by demonstrating circumstances that reveal a

 sufficient likelihood of vindictiveness to warrant a presumption of vindictiveness.”

 Id. (citing United States v. Marrapese, 826 F.2d 145, 147 (1st Cir. 1987)).           If a

 defendant can “point to specific facts that raise a likelihood of vindictiveness a district

 court must grant an evidentiary hearing on the issue.” United States v. Lanoue, 137

 F.3d 656, 665 (1st Cir. 1998) (citing United States v. Adams, 870 F.2d 1140, 1146 (6th

 Cir. 1989); United States v. Napue, 834 F.2d 1311, 1329 (7th Cir. 1987)). However,

 there must be “some evidentiary predicate” and “merely chanting the mantra of



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 prosecutorial vindictiveness gets a defendant nowhere.”        United States v. Ortiz-

 Santiago, 211 F.3d 146, 150 (1st Cir. 2000) (citing Lanoue, 137 F.3d at 665; Stokes,

 124 F.3d at 46; United States v. Sutherland, 929 F.2d 765, 772, n.2 (1st Cir. 1991)).

       “It is hornbook law that a federal court may dismiss an indictment if the

 accused produces evidence of actual prosecutorial vindictiveness sufficient to

 establish a due process violation, or even if he demonstrates a likelihood of

 vindictiveness sufficient to justify a presumption.” Stokes, 124 F.3d at 45. Because

 Mr. French failed to raise a claim of vindictive prosecution before trial, his claim is

 waived and the court reviews the question only for plain error. United States v.

 Peterson, 233 F.3d 101, 105 (1st Cir. 2000). Furthermore, the prosecutor is entitled

 to “a threshold presumption that [he] acted in good faith for reasons of sound

 governmental policy.”    United States v. Gary, 74 F.3d 304, 313 (1st Cir. 1996)

 (alteration in original) (citations and internal punctuation omitted).

       “To overcome the presumption of good faith, a defendant must establish that

 his prosecution results from ‘intentional and purposeful discrimination.’” United

 States v. Bassford, 812 F.2d 16, 19 (1st Cir. 1987) (citing United States v. Berrios, 501

 F.2d 1207, 1211 (2d Cir. 1974)). “To rebut this presumption and obtain an evidentiary

 hearing on the issue, the defendant must allege facts (1) tending to show selective

 prosecution, and (2) raising a reasonable doubt about the propriety of the

 prosecution’s motives.” Peterson, 233 F.3d at 105 (footnote omitted). To make out a

 claim of selective prosecution, a defendant must show that he “was prosecuted while

 others similarly situated were not.” Id. (quoting Bassford, 812 F.2d at 19). “Our



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 cases delineating the necessary elements to prove a claim of selective prosecution

 have taken great pains to explain that the standard is a demanding one.” United

 States v. Armstrong, 517 U.S. 456, 463 (1996). To cast a pall over the prosecutor’s

 motives, a defendant must show that the Government’s prosecution was “in bad

 faith,” which the First Circuit observed includes such impermissible motivations as

 race, religion, or the desire to prevent the exercise of a defendant’s constitutional

 rights. Bassford, 812 F.3d at 19 (quoting Berrios, 501 F.2d at 1211).

 IV.   DISCUSSION

       A.     Motion to Dismiss

       In a companion motion for new trial, Mr. French raised many of the same

 factual issues he has raised in his motion to dismiss the indictment. In a separate

 order, the Court engaged in a detailed analysis of the factual underpinnings of Mr.

 French’s charges and concluded they are meritless. Order Denying Def. French’s

 Third Mot. for New Trial; Def. Chase’s Am. Mot. for New Trial; And Def. Russell’s

 Mot. for New Trial (ECF No. 598) (Order Denying Third Mot. for New Trial). The

 Court will not indulge the motion to dismiss by analyzing each alleged lie that Mr.

 French claims the Government presented to the grand jury.

       One example suffices because allegations are easy and explanations require

 context. In his motion, Mr. French alleges that Special Agent Richards lied to the

 grand jury when he testified that “Moises Soto was getting money directly from

 Malcolm French to pay Hispanic workers.” French Mot. at 3. Mr. French cites two

 lines of Special Agent Richards’ November 13, 2013 testimony:



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        Q. So to be clear, Mr. Soto was getting money from Malcolm French - -
        A. Yes.

 Id. Attach. 6 Grand Jury Test. of Jonathan Richards 76:5-7. Although the cited

 portion does not address payment of the Hispanic workers, the Court located relevant

 testimony elsewhere on the same page:

        Q. So to be clear, Mr. Soto was getting money from Malcolm French - -
        A. Yes.
        Q. - - on a periodic basis?
        A. Correct.
        Q. He would use that money to pay the migrant laborers?
        A. Yes.

 Id. 76:5-13. Mr. French claims this grand jury testimony is false because “according

 to Soto’s interview with law enforcement Scott MacPherson paid Moises Soto, and

 Moises paid the workers.” French Mot. at 3.7

        Mr. French’s characterization of Special Agent Richards’ grand jury testimony

 is inaccurate in a significant way. Mr. French claims that Special Agent Richards

 testified before the grand jury that “Moises Soto was getting money directly from

 Malcolm French to pay Hispanic workers.” French Mot. at 3 (emphasis supplied). He

 did not. Special Agent Richards only testified that Mr. Soto was getting the money

 “from Mr. French,” not directly from Mr. French. There is an important difference

 between what Mr. French said Special Agent Richards said and what Special Agent

 Richards actually said.




 7       In his motion, Mr. French cites “5.10.13 Soto Interview R_11015” as authority for this
 proposition. French Mot. at 3. The Court could not locate this interview in the documents that Mr.
 French attached to his motion. Id. Attachs. 1-16. The Court assumes that Mr. French has correctly
 characterized the contents of Mr. Soto’s May 10, 2013 interview.

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       Moises Soto testified at trial. Partial Tr. of Proceedings (ECF No. 369) (Test.

 of: Moises Soto) (Soto Test.). Mr. Soto testified that he met Malcolm French sometime

 before 2003 or 2004. Id. 7:16-8:2. Mr. French hired Mr. Soto to do some logging work.

 Id. 8:10-14. In 2007, according to Mr. Soto, Mr. French approached him to obtain

 some migrant workers to “clean[] pot.” Id. 9:5-10:12. Mr. French agreed to pay Mr.

 Soto $100 per pound of cleaned pot. Id. 10:19-23. Mr. French needed the workers “as

 soon as possible,” and the work was to be done in a warehouse. Id. 10:24-11:4. As a

 contact person, Mr. French provided Mr. Soto with Scott MacPherson’s name and

 information; at this point, Mr. Soto did not know Mr. MacPherson. Id. 11:14-21.

       Following this conversation and a conversation with Mr. MacPherson, Mr. Soto

 was able to obtain migrant workers through a contact named El Negro. Id. 13:2-15.

 Within a couple of weeks, Mr. Soto was able to bring three migrant workers to the

 warehouse. Id. 13:13-14:10. The workers set about cleaning marijuana. Id. 15:10-

 13. Mr. Soto testified that he would occasionally go to the warehouse to check on the

 workers. Id. 16:2-4. When he went to the warehouse, Mr. MacPherson was there and

 Malcolm French would sometimes be there as well. Id. 16:7-16.

       Regarding payment of the workers, Mr. Soto testified:

       Q. Who was paying the workers?
       A. Scott, but the - -
       Q. So would the - - would Scott physically hand the pay to the workers?
       A. Yes.
       Q. Did you ever pay the workers?
       A. I don’t pay the workers.
       Q. Okay. So did you ever - - so you’ve seen Scott pay these workers?
       A. Sometimes. Sometimes they give the money to me to give it to them.
       Q. All right. So when you say they would give you the money to give to
       the workers - -

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        A. Well, no, he - - he give the money to me, and then I’d give it to them.
        Q. All right. I just want to be clear, Mr. Soto.
        A. That’s okay.
        Q. Sometimes you would see Scott pay the workers?
        A. Yes, sometimes he gave it to them.
        Q. And sometimes Scott would give you money to pay to the workers.
        A. Yes.
        Q. Did anybody else ever give you money to pay the workers?
        A. No.
        Q. Okay. And how much were the workers being paid?
        A. If it was cleaning, they’d give me a hundred dollars per pound and I
        divide it to them.
        Q. Did Scott ever tell you where he was getting the money that he was
        using to pay the workers?
        A. Yes.
        Q. Where was he getting the money?
        A. Malcolm French.

 Id. 17:11-18:18.

        Based on this testimony, Mr. French hired Mr. Soto to procure migrant

 workers to clean marijuana in Mr. French’s warehouse,8 and he agreed to pay Mr.

 Soto $100 per pound of cleaned marijuana. Mr. French gave Mr. MacPherson’s name

 and contact information to Mr. Soto. Mr. Soto procured three migrant workers for

 Mr. French, and they worked in the warehouse, doing the job that Mr. French had

 anticipated. Mr. MacPherson and occasionally Mr. French would be present at the

 warehouse while the migrant laborers were doing the work.

        Regarding payment of the workers, Mr. Soto testified that Mr. French was the

 source of the funds to pay the migrant workers. In light of the entire context, whether

 Mr. French paid Mr. MacPherson who paid the workers or Mr. French paid Mr. Soto



 8       This portion of Mr. Soto’s testimony does not establish that the warehouse was Mr. French’s,
 but there is other evidence that does. See Partial Tr. of Proceedings 44:4-23 (ECF No. 362) (Test. of
 Malcolm French); Partial Tr. of Proceedings 12:18-13-13 (ECF No. 364) (Test. of Rodney Russell).

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 who paid the workers or a combination of the two is hardly a detail that makes a

 difference in this case; in either case, Mr. French was the source of the funds. If Mr.

 MacPherson was an intermediary for the funds, Special Agent Richards’ grand jury

 testimony was still correct in testifying before the grand jury that the money was

 coming from Malcolm French.

        This analysis demonstrates on this single point that Mr.                  French

 mischaracterized Special Agent Richards’ testimony, and that properly analyzed, the

 asserted lie was no lie at all.

        The Court will not perform a similar analysis on each of the asserted pieces of

 false testimony. The Court has reviewed those allegations and has concluded that

 they are without merit.       The plain fact is that the evidence of Mr. French’s

 involvement in a large-scale marijuana growing operation in Township 37 is

 overwhelming. See Order Denying Third Mot. for New Trial at 62-63 (discussing the

 evidence against Mr. French).

        In short, the Court rejects Mr. French’s contention that there was “government

 misconduct” in this case. Guzman, 282 F.3d at 59. The Court found none, much less

 Government misconduct “so appalling and egregious as to violate due process by

 ‘shocking . . . the universal sense of justice.’” Luisi, 482 F.3d at 59 (quoting Russell,

 411 U.S. at 432).

        B.     Vindictive Prosecution

        The Court concludes that Mr. French’s vindictive prosecution claim is

 frivolous. In his motion, he makes allegations about plea negotiations in the fall of



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 2013 in which the “government advised Mr. French that if he did not plead guilty, a

 superseding indictment with mandatory sentencing language would be obtained.”

 French Mot. at 14.     Mr. French sees this Governmental advice as coercive and

 intended to affect his right to trial by jury. Id. Against what he characterizes as a

 dramatic change in the “national marijuana landscape,” Mr. French claims that he

 was “threatened by AUSA Casey with a minimum mandatory sentence of ten years

 if Mr. French did not plead guilty to the original indictment.” Id. at 14-15.

       What Mr. French does not mention is that when he was originally indicted on

 September 14, 2012, he was subject to a ten-year mandatory minimum prison term

 on Counts One and Two. Indictment (ECF No. 2); Synopsis (ECF No. 3) (“At least 10

 years and up to life imprisonment, $10,0000,000 fine, or both. See 21 U.S.C. §

 841(b)(1)(A)”).   While the case was pending but before trial, the United States

 Supreme Court decided Alleyne v. United States, 133 S. Ct. 2151 (2013), which

 overruled Harris v. United States, 530 U.S. 466 (2000) and held that facts that

 increase a sentencing floor must be presented to a jury and found beyond a reasonable

 doubt. Alleyne, 133 S. Ct. at 2161. In addition, the Alleyne Court observed that

 “[d]efining facts that increase a mandatory statutory minimum to be part of the

 substantive offense enables the defendant to predict the legally applicable penalty

 from the fact of the indictment.” Id. at 2161. As this language was read as mandating

 that the Government charge in the indictment or other charging instrument the

 essential facts that would trigger a mandatory minimum, the United States

 Attorney’s Office in Maine placed Mr. French on notice on August 9, 2013 that it



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 might seek a superseding indictment “to add allegations that satisfy Alleyne.” Gov’t’s

 Opp’n Attach. 1 Letter from Joel Casey to Counsel of Record Aug. 9, 2013, at 1.

        Several facts undercut Mr. French’s vindictive prosecution claim. First and

 most significantly, the penalty provisions for Counts One and Two of the original

 indictment and the superseding indictment are identical. Compare Synopsis (ECF

 No. 3), with Superseding Synopsis (ECF No. 182). This is not a case where the

 Government enhanced the penalties after failed plea negotiations; it is a case where

 the Government maintained the same penalties originally charged. Cf. United States

 v. Tobin, 598 F. Supp. 2d 125, 129 (D. Me. 2009) (“courts view skeptically the

 government’s decision to file more severe charges following a defendant’s successful

 appeal of his conviction”). Second, as to Mr. French’s claim that the Government’s

 tactics were intended to chill his exercise of his right to a jury trial, the record in this

 case establishes that Mr. French in fact exercised his right to a jury trial and was

 found guilty as charged after an extended trial. Third, Mr. French is attempting to

 make the case that the prosecution was vindictive, when the jury found him guilty as

 charged. Although not determinative, it is more difficult to prove that a successful

 prosecution was vindictive. Fourth, although Mr. French says that the decision to

 obtain a superseding indictment was made as a consequence of the failed plea

 negotiations in the fall, the date of the Casey letter confirms that the Government

 was considering obtaining a superseding indictment in his case as early as August 9,

 2013 and had placed him on notice of this possibility at that time. Fifth, the grand

 jury issued superseding indictments against Mr. French, Mr. Russell, and Mr. Chase,



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 and there is no evidence in this record that either Mr. Russell or Mr. Chase was

 similarly engaged in failed plea negotiations before the superseding indictment

 issued.    In other words, there is no evidence that the Government selectively

 prosecuted Mr. French by showing that he “was prosecuted while others similarly

 situated were not.” Peterson, 233 F.3d at 105 (quoting Bassford, 812 F.2d at 20).

 Sixth, the Court is aware from its own docket that the Government sought

 superseding indictments following Alleyne in a number of cases, not limited to the

 French case. The fact that the Government sought a superseding indictment to meet

 the Alleyne pleading requirements is unremarkable. See United States v. Young, No.

 2:13-cr-193-GZS, 2014 U.S. Dist. LEXIS 122221, at *41-45 (D. Me. Sept. 1, 2014).

       To sustain a vindictive prosecution claim, the defendant must “rais[e] a

 reasonable doubt about the propriety of the prosecution’s motive.” Peterson, 233 F.3d

 at 105 (citing Gary, 74 F.3d at 313). Here, the prosecutor’s motive in obtaining a

 superseding indictment against Mr. French was to conform the charging instrument

 to the requirements of intervening Supreme Court authority. It is difficult to fathom

 how a prosecutor’s attempt to make certain that the charging instrument was

 consistent with changes in the law is evidence of vindictiveness.

       The Court rejects Mr. French’s vindictive prosecution argument as wholly

 unsupported and frivolous.

       C.      Kendall Chase’s and Rodney Russell’s Limited Joinders of the
               Malcolm French Motion to Dismiss the Indictment

       Although Mr. Chase and Mr. Russell initially joined Mr. French’s motion to

 dismiss, they later retracted their participation in the motion to the extent the motion

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 alleged that the federal prosecutor suborned perjury and to the extent that the motion

 alleged that the prosecution was vindictive.      Chase Am. Mot. at 1-2; Russell

 Withdrawal at 1.     As Mr. French’s motion to dismiss is based on charges of

 prosecutorial misconduct, either by presenting false testimony or by initiating and

 maintaining a vindictive prosecution, it is difficult to see what remains of Mr.

 French’s motion to dismiss absent these claims. In short, Mr. Chase and Mr. Russell

 nominally, but not substantively, joined Mr. French’s motion to dismiss indictment,

 and the Court dismisses the French motion to the extent Mr. Chase and Mr. Russell

 have joined in it.

 V.    CONCLUSION

       The Court DENIES Malcolm French’s Motion to Dismiss Indictment (ECF No.

 583). The Court also DENIES Rodney Russell’s and Kendall Chase’s joinder to that

 motion (ECF Nos. 585, 588).

       SO ORDERED.


                                 /s/ John A. Woodcock, Jr.
                                 JOHN A. WOODCOCK, JR
                                 UNITED STATES DISTRICT JUDGE

 Dated this 23rd day of November, 2015




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